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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA                       Case No. ______________
SECURITIES LITIGATION


                                               CASE NO. SACV 17-00118 AG (DFMx)
                                               consolidated with
                                               SACV 17-00138 AG (DFMx)
                                               Pending in the Central District of California




     NOTICE OF HEARING ON DEFENDANT SUGARMAN’S MOTION TO
              COMPEL COMPLIANCE WITH SUBPOENAS

       PLEASE TAKE NOTICE, that on a date and time to be determined by the Court,

the undersigned shall move the Court for an Order, pursuant to Federal Rule of Civil

Procedure 37 and Local Rule 37.1, compelling non-parties Castalian Partners Value Fund

LP and James Gibson (collectively, “Respondents”) to produce documents responsive to

the Subpoenas to Produce Documents served on Respondents by Defendant Steven

Sugarman (“Sugarman”) in In Re Banc of California Sec. Litig., Civil Action No. SACV

17-00118 AG (DFMx) consolidated with SACV 17-00138 AG (DFMx), currently

pending in the United States District Court for the Central District of California.
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Dated: September 12, 2018           Respectfully submitted,

                                    FOX ROTHSCHILD

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